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                10
                         Attorneys for Plaintiff 3M COMPANY
                11
                12                       IN THE UNITED STATES DISTRICT COURT
                13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                14                                    WESTERN DIVISION
                15      3M COMPANY,                                  Case No. 2:20-cv-05049 MWF (JCx)
                16                   Plaintiff,
                                                                     FIRST AMENDED COMPLAINT
                17             v.                                    FOR TRADEMARK
                18      KM BROTHERS INC., KMJ                        COUNTERFEITING,
                        TRADING INC., SUPREME                        TRADEMARK INFRINGEMENT,
                19      SUNRISE, INC., MAO YU, and DOES              UNFAIR COMPETITION,
                        1 – 10,
                20                                                   TRADEMARK DILUTION, AND
                                     Defendants.                     FALSE ADVERTISING
                21
                22
                                                                     DEMAND FOR JURY TRIAL
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                24
                              Plaintiff 3M Company (“3M”) alleges as follows against KM Brothers, Inc.,
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                        KMJ Trading Inc., Supreme Sunrise, Inc., and Mao Yu (collectively,
                26
                        “Defendants”), as well as any presently unknown pseudonyms, affiliated entities, or
                27
                        persons acting in concert with Defendants (“Does 1 – 10”):
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                    1                                I.     INTRODUCTION
                    2         1.     This lawsuit is brought to further 3M’s efforts to combat the
                    3   exploitation of consumers during the COVID-19 global pandemic. Defendants
                    4   operated an illegal scheme to advertise and sell counterfeit, damaged, deficient, or
                    5   otherwise altered respirators to unwitting customers. Defendants falsely advertised
                    6   these products with 3M’s famous trademarks, trading on 3M’s brand and reputation
                    7   for products that consumers around the world trust for their superior quality and
                    8   reliability. Defendants further engaged in price-gouging and other unfair sales
                    9   techniques, such as bait-and-switch tactics, in order to take advantage of consumers
                10      in need of personal protection equipment (PPE) to safeguard their health.
                11            2.     3M has filed suit to shut down entirely this unlawful activity, protect
                12      consumers from serious harm, and protect their names and brands from being
                13      associated with defendants’ unlawful and unethical efforts to profiteer from the
                14      pandemic. Any damages awarded in this case will be donated by 3M to charitable
                15      COVID-19 relief efforts.
                16            3.     Throughout its history, 3M has been providing state-of-art, industry-
                17      leading scientific and medical products to consumers throughout the world under its
                18      famous 3M name and trademarks. Based on this longstanding, continuous use,
                19      consumers associate the 3M trademarks uniquely with 3M. Now, more than ever,
                20      consumers are also relying on the famous 3M name and trademarks to indicate that
                21      the products offered thereunder are of the same superior quality that consumers
                22      have come to expect over the past century. This is especially true with respect to
                23      3M’s numerous industry-leading healthcare products and PPE, including 3M-brand
                24      N95 respirators.
                25            4.     Healthcare professionals and other first responders are heroically
                26      placing their health and safety on the line to battle COVID-19. To assist in the
                27      battle, 3M is working around the clock to supply healthcare workers, first
                28      responders, and critical infrastructure operators with millions of 3M-brand
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                    1   respirators. Beginning in January, 3M began increasing its production of 3M-brand
                    2   respirators, doubling its global output to a rate of 1.1 billion per year, or 100 million
                    3   per month. This includes 35 million respirators per month being manufactured and
                    4   distributed in the United States, or more than 1 million respirators per day produced
                    5   in the U.S. for use in the fight against COVID-19. 3M also is investing capital and
                    6   resources to enable it to double its respirator production capacity once again, to 2
                    7   billion globally before the end of 2020. In the United States alone, 3M plans to be
                    8   producing respirators at a rate of 50 million per month by June 2020, and at a rate
                    9   of more than 95 million per month by October 2020. And to supplement its U.S.
                10      production, 3M also has announced a plan to import 166.5 million 3M-brand
                11      respirators from 3M’s production facilities overseas. In the United States, 90
                12      percent of 3M’s respirators are going to healthcare and public health users, with the
                13      remaining deployed to other critical industries such as energy, food and
                14      pharmaceuticals. The U.S. distribution of 3M-brand respirators is being
                15      coordinated with the Federal Emergency Management Agency, which is basing
                16      allocation decisions on the most urgent needs.
                17            5.     The demand for 3M-branded respirators has grown exponentially in
                18      response to the pandemic, and 3M has been committed to seeking to meet this
                19      demand while keeping its respirators priced fairly. 3M is working with customers,
                20      distributors, governments, and medical officials to direct 3M supplies to the places
                21      where they are needed most. Importantly, 3M has not increased the prices it
                22      charges for 3M respirators as a result of the COVID-19 outbreak.
                23            6.     In the midst of these efforts by 3M and the global health community to
                24      respond to the pandemic, certain bad actors have sought to exploit the crisis and
                25      prey on innocent parties through a variety of scams involving 3M N95 respirators
                26      and other health-related products in high demand. These scams include the sale of
                27      counterfeit, damaged, deficient, or otherwise altered products, unlawful price-
                28      gouging, fake offers, bait-and-switch tactics, and other unfair and deceptive
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                    1   practices—all of which undercut the integrity of the marketplace and constitute an
                    2   ongoing threat to public health and safety.
                    3         7.     In response to the spike in fraudulent activity, price gouging and
                    4   counterfeiting related to 3M N95 respirators in the marketplace during the
                    5   pandemic, 3M is taking an active role to combat these activities. 3M’s actions
                    6   include working with law enforcement authorities around the world, including the
                    7   Department of Justice, state Attorneys General, the Federal Bureau of Investigation,
                    8   U.S. Attorney General, state attorneys general, and local authorities to combat
                    9   price-gouging and other unlawful activities. 3M has established a dedicated point
                10      of contact for federal and state procurement officials to promptly validate third-
                11      party offers and quotes. In doing so, 3M has already helped prevent dozens of
                12      potentially fraudulent transactions with federal agencies, state governments,
                13      municipal governments, private enterprises and other organizations. Every U.S.
                14      Governor has been briefed on 3M’s efforts, and 3M is in regular contact with
                15      numerous governors and state attorneys general regarding these efforts to prevent
                16      and combat fraud. The Department of Justice has publicly thanked 3M for the
                17      assistance it has provided in investigations that have led to arrests. See Press
                18      Release: New Jersey Man Arrested For $45 Million Scheme To Defraud And Price
                19      Gouge New York City During COVID-19 Pandemic, available at
                20      https://www.justice.gov/usao-sdny/pr/new-jersey-man-arrested-45-million-scheme-
                21      defraud-and-price-gouge-new-york-city-during (May 26, 2020).
                22            8.     3M has also created a website where people can report potential price-
                23      gouging, and a “3M COVID-19 Fraud hotline” where end-users and purchasers of
                24      3M products in the United States and Canada can call for information and help
                25      detect fraud and avoid counterfeit products. 3M is also publishing information
                26      about its anti-price-gouging and counterfeiting efforts on the 3M website, including
                27      disclosure of 3M’s list prices for its N95 respirators so that customers can identify
                28      and avoid inflated prices, and the web address and phone numbers that can be used
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                    1   to identify 3M authorized distributors and dealers in the United States and Canada.
                    2   Further information about 3M’s efforts are set forth in the 3M press release and
                    3   publication attached hereto as Exhibits 1 and 2.
                    4         9.        A key component of 3M’s efforts to combat fraud, price gouging, and
                    5   counterfeiting has been the removal of bad actors through policing their activity on
                    6   the internet. 3M has successfully secured the removal of more than 3,000 websites
                    7   and sales offers with fraudulent or counterfeit product offerings from online
                    8   marketplaces around the world, more than 4,000 false or deceptive social media
                    9   posts, and more than 100 deceptive internet addresses.
                10            10.       Including this action, 3M has filed twelve lawsuits in federal courts
                11      across the country in its fight against fraud, price gouging, and counterfeiting. 3M
                12      has won five temporary restraining orders and three preliminary injunction orders
                13      from courts across the country that put a stop to other defendants’ unlawful and
                14      unethical profiteering from the pandemic.
                15            11.       This action involves Defendants’ wrongful acts as third-party sellers
                16      operating on Amazon.com (“Amazon”), and 3M’s efforts to take action against
                17      those who attempt to sell counterfeit products and those who engage in price-
                18      gouging on Amazon. During this historic health crisis, 3M has sought to
                19      aggressively protect customers from bad actors seeking to exploit the global
                20      pandemic for their own gain.
                21            12.       Despite these extensive efforts during the COVID-19 crisis, pandemic
                22      profiteers continue to prey on and deceive consumers, including front-line
                23      healthcare workers and first responders, trading on the fame of the 3M names and
                24      trademarks, and falsely associating themselves with 3M and its reputation for
                25      providing the highest quality PPE at fair prices. Defendants’ scheme to illegally
                26      enrich themselves during the current global health crisis exemplifies pandemic
                27      profiteering.
                28            13.       3M does not—and will not—condone bad actors deceptively trading
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                    1   on the fame and goodwill of the 3M brand and trademarks for their personal gain.
                    2   3M is committed to working to address and prevent the exploitation of the surge in
                    3   demand for 3M-brand products during this historic health crisis.
                    4         14.       On or about February 24, 2020, Defendant Mao Yu, who is believed to
                    5   be an individual who owns and operates Defendants KM Brothers Inc., KMJ
                    6   Trading Inc., and Supreme Sunrise, Inc., began selling what were advertised as
                    7   authentic 3M products on Amazon.com across three accounts: Julian Trading,
                    8   Supreme Sunshine, and KM Buy. The associated Amazon listings advertised what
                    9   were purported to be 3M-branded N95 respirators listed under the title, among
                10      others, “3M OHESD 142-8210Plus 8210Plus Particulate Respirator N95 - Pack of
                11      Two Masks.”
                12            15.       In the following weeks, and until the accounts were blocked by
                13      Amazon in response to customer complaints regarding the authenticity, quality, and
                14      pricing of the products (as detailed further below), Defendants sold products
                15      advertised as 3M-brand N95 respirators as third-party sellers on Amazon.com.
                16            16.       As described further below, Defendants’ actions are in clear violation
                17      of 3M’s rights. On information and belief, Defendants’ conduct includes, among
                18      other things:
                19                      a. selling counterfeit, damaged, deficient, or otherwise altered
                20                         purported 3M-branded respirators;

                21                      b. engaging in price-gouging by selling purported 3M-branded N95
                                           respirators for vastly inflated prices, at an average price per
                22                         respirator across the three accounts of $23.21, which is far in excess
                                           of 3M Company’s average list prices for N95 respirators of
                23                         approximately $0.63 to $3.40, depending on the model.1 For
                24                         further reference, Defendants’ average price is almost 20 times
                                           3M’s posted list price of $1.27 per respirator for the same or
                25                         comparable products; and
                26
                27
                        1
                28       See Exhibit 3, 3M Company, Fraudulent Activity, Price Gouging, and
                        Counterfeit Products.
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                    1                c. making multiple false representations in advertising including, but
                                        not limited to, employing bait-and-switch tactics by selling non-3M
                    2                   respirators advertised as 3M-branded respirators, and fulfilling
                    3                   purchase orders with lower quantities of respirators than what was
                                        advertised.
                    4
                    5         17.    Upon information and belief, Defendants charged customers over
                    6   $350,000 by the sale of purported 3M-branded N95 and other respirators they
                    7   advertised under the 3M brand.
                    8         18.    3M brings this lawsuit to protect consumers from being deceived,
                    9   prevent healthcare providers and procurement officers from wasting their valuable
                10      time interacting with illegitimate offers for critical health supplies, and stop
                11      Defendants’ future infringement, tarnishment and dilution of 3M’s name,
                12      trademarks, reputation, fame, and goodwill. Although Defendants’ original product
                13      listings seeking to defraud and price gouge consumers have been removed from
                14      Amazon, Defendants have shown a propensity to form multiple front entities to
                15      perpetuate their unlawful activities, and they may be seeking to continue their
                16      illegal acts through additional product listings by additional front entities unless and
                17      until they are enjoined by this Court.
                18            19.    3M seeks an award of monetary damages (trebled), attorneys’ fees and
                19      costs, the disgorgement of Defendants’ illicit profits, prejudgment interest, and
                20      injunctive relief preventing Defendants from future unlawful acts against 3M’s
                21      rights. Any monetary awards received by 3M will be donated to charitable
                22      COVID-19 relief efforts.
                23                                      II.      THE PARTIES
                24            20.    Plaintiff 3M Company is a Delaware corporation, with a principal
                25      place of business and corporate headquarters located at 3M Center, St. Paul,
                26      Minnesota 55144. 3M is a diversified technology company with a global presence
                27      and is among the leading manufacturers of products for many of the markets it
                28      serves, including PPE such as 3M-brand N95 respirators.
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                    1         21.    On information and belief, Defendant Mao Yu is an individual residing
                    2   in the State of California and is the owner and operator of KM Brothers Inc., KMJ
                    3   Trading Inc., and Supreme Sunrise, Inc.
                    4         22.    On information and belief, Defendant KM Brothers Inc. is a California
                    5   corporation with a principal place of business at 1519 Custoza Ave., Rowland
                    6   Heights, California 91748, and doing business as “KM Buy.”
                    7         23.    On information and belief, Defendant KMJ Trading Inc. is a California
                    8   corporation with a principal place of business at 1519 Custoza Ave., Rowland
                    9   Heights, California 91748, and doing business as “Julian Trading.”
                10            24.    On information and belief, Defendant Supreme Sunrise, Inc. is a
                11      California corporation with a principal place of business at 3321 Glenmark Dr.,
                12      Hacienda Heights, California 91745, and doing business as “Supreme Sunshine.”
                13            25.    3M does not know the identity of additional affiliated entities, or
                14      persons acting in concert with Defendants and denominates them for purposes of
                15      this Complaint and action as “Does 1 – 10.”
                16                            III.   JURISDICTION AND VENUE
                17            26.    3M’s claims for trademark infringement, trademark counterfeiting,
                18      unfair competition, false association, false endorsement, false designation of origin,
                19      trademark dilution, and false advertising, as asserted in Claims 1 through 5 below
                20      arise under the Trademark Act of 1946 (as amended; the “Lanham Act”), 15 U.S.C.
                21      §§ 1051, et seq. Accordingly, this Court has subject matter jurisdiction over those
                22      claims pursuant to 28 U.S.C. §§ 1331, 1338(a) & (b), and 15 U.S.C § 1121(a).
                23            27.    3M’s claims for price-gouging and false advertising in violation of the
                24      California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq., false
                25      advertising in violation of California’s False Advertising Law, Cal. Bus. & Prof.
                26      Code § 17500 et seq., and common law unfair competition are so related to the
                27      federal claims asserted in Claims 1 through 5 below that they form part of the same
                28      case or controversy. Accordingly, this Court has supplemental jurisdiction over
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                    1   Claims 6 through 8 pursuant to 28 U.S.C. §§ 1338(b) and 1367(a).
                    2          28.     This Court also has subject-matter jurisdiction over the claims on the
                    3   separate and independent ground of diversity of citizenship pursuant to 28 U.S.C. §
                    4   1332(a). There is complete diversity of citizenship between the parties and the
                    5   amount in controversy exceeds $75,000, exclusive of interest and costs.
                    6          29.     This Court has personal jurisdiction over Defendant Mao Yu because
                    7   Yu is an individual who resides in and/or regularly transacts business in the State of
                    8   California. This Court has personal jurisdiction over Defendants KM Brothers Inc.,
                    9   KMJ Trading Inc., and Supreme Sunrise, Inc. because they are incorporated and
                10      headquartered in the Central District of California, and otherwise do business there.
                11      Defendants are committing, or facilitating the commission of, tortious acts in
                12      California and have wrongfully caused 3M substantial injury in California.
                13             30.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
                14      a substantial part of the events giving rise to the claims occurred in the Central
                15      District of California and also because Defendants are subject to personal
                16      jurisdiction in this District.
                17                   IV.   FACTS COMMON TO ALL CLAIMS FOR RELIEF
                18                     Plaintiff 3M
                19             31.     3M has grown from humble beginnings in 1902 as a small-scale
                20      mining venture in Northern Minnesota to what it is today, namely: an industry-
                21      leading provider of scientific, technical, and marketing innovations throughout the
                22      world. Today, 3M’s offers over 60,000 products, ranging from household and
                23      school supplies, to industrial and manufacturing materials, to critical medical
                24      supplies and protective equipment.
                25                     The 3M Brand
                26             32.     3M offers its vast array of goods and services throughout the world
                27      under numerous brands, including, for example: ACE; POST-IT; SCOTCH;
                28      NEXCARE; LITTMANN; and more. Notwithstanding the widespread goodwill
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                    1   and resounding commercial success enjoyed by these brands, 3M’s most famous
                    2   and widely recognized brand is its eponymous “3M” brand.
                    3         33.    The 3M brand is associated with products and materials for a wide
                    4   variety of medical devices, supplies, and PPE, including, for example: respirators;
                    5   stethoscopes; medical tapes; surgical gowns, blankets, and tape; bandages and other
                    6   wound-care products; and many more. As a result, 3M-branded products are highly
                    7   visible throughout hospitals, nursing homes, and other care facilities where patients,
                    8   care providers, and procurement officers value and rely upon the high quality and
                    9   integrity associated with the 3M brand.
                10                   The Famous “3M” Respirators
                11            34.    Over the past century, 3M has invested hundreds of millions of dollars
                12      in advertising and promoting its 3M-brand products to consumers throughout the
                13      world (including, without limitation, its 3M-brand N95 respirator) under the
                14      standard-character mark “3M” and the 3M logo shown below (together, the “3M
                15      Marks”):
                16
                17
                18
                19            35.    For decades, products offered under the 3M Marks have enjoyed
                20      enormous commercial success including, without limitation, 3M-brand respirators.
                21      Indeed, in 2019 alone, sales of products offered by 3M exceeded billions of dollars,
                22      with the vast bulk of such products sold under and in connection with the 3M
                23      Marks.
                24            36.    Over the same period of time, products offered under the 3M Marks
                25      regularly have been the subject of widespread, unsolicited media coverage and
                26      critical acclaim.
                27            37.    Based on the foregoing, consumers associate the 3M Marks uniquely
                28      with 3M and recognize them as identifying 3M as the exclusive source of goods
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                    1   and services offered under the 3M Marks. Based on the foregoing, the 3M Marks
                    2   have also become famous among consumers, not only in California, but throughout
                    3   the United States.
                    4         38.    To strengthen 3M’s common-law rights in and to its famous 3M
                    5   Marks, 3M has obtained numerous federal trademark registrations, including,
                    6   without limitation: (i) U.S. Trademark Reg. No. 3,398,329, which covers the
                    7   standard-character 3M mark in International Classes 9 and 10 for, inter alia,
                    8   respirators (the “’329 Registration”), (ii) U.S. Trademark Reg. No. 2,692,036,
                    9   which covers the 3M logo for, inter alia, a “full line of surgical masks, face shields,
                10      and respiratory masks for medical purposes” (the “’036 Registration”); and (iii)
                11      U.S. Trademark Reg. No. 2,793,534, which covers the 3M design mark in
                12      International Classes 1, 5, and 10 for, inter alia, respirators (the “’534
                13      Registration”). True and correct copies of registration certificates for these
                14      registrations are attached hereto as Exhibit 4.
                15            39.    Each of these Registrations is valid, in effect, and on the Principal
                16      Register.
                17            40.    Each of these Registrations is “incontestable” within the meaning of
                18      15 U.S.C. § 1065. Accordingly, each Registration constitutes conclusive evidence
                19      of: (i) 3M’s ownership of the 3M Marks; (ii) the validity of the 3M Marks; (iii) the
                20      validity of the registration of the 3M Marks; and (iv) 3M’s exclusive right to use
                21      the 3M Marks throughout the United States for, inter alia, respirators.
                22            41.    3M’s famous 3M Marks do more than identify 3M as the exclusive
                23      source of goods and services offered thereunder. The famous 3M Marks also
                24      signify to consumers that 3M-brand products offered under the 3M Marks are of the
                25      highest quality and adhere to the strictest quality-control standards. Now, more
                26      than ever, consumers rely on the famous 3M Marks’ ability to signify that products
                27      offered under the 3M Marks are of the same high quality that consumers have come
                28      to expect of the 3M brand over the past century.
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                    1                3M’s Extensive Efforts to Assist With the Battle Against COVID-
                    2                19
                    3         42.    Medical professionals and first responders throughout the world are
                    4   donning extensive PPE as they place their health and safety on the line in the battle
                    5   against COVID-19. As 3M states on the homepage of its website, it is “committed
                    6   to getting personal protective equipment to healthcare workers”:
                    7
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                    9
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                17            43.    Among the PPE that 3M is providing to the heroic individuals on the
                18      front lines of the battle against COVID-19 are its 3M-brand N95 respirators.
                19            44.    Inset, below, is an image of 3M’s branded Model 8210 respirator:
                20
                21
                22
                23
                24
                25
                26            45.    Authentic N95 respirators reduce exposure to airborne biological
                27      particles and liquid contamination when appropriately selected, fitted, and worn.
                28            46.    Based on the exponential increase in demand for 3M-branded
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                    1   respirators, 3M has invested in the necessary capital and resources to double its
                    2   annual production of 1.1 billion respirators. See Exhs. 1, 2. What 3M has not
                    3   done in the face of the global COVID-19 pandemic is increase its prices. See id.
                    4          47.   Unfortunately, 3M’s sense of civic responsibility during this time of
                    5   crisis is not universally shared and bad actors are seeking to exploit the increased
                    6   demand for 3M-branded N95 respirators. These opportunists advertise and sell
                    7   counterfeit, damaged, deficient, or otherwise altered versions of 3M’s genuine N95
                    8   respirators to consumers seeking to protect their health. In some cases, bad actors
                    9   advertise 3M-branded N95 respirators without any intention to supply product at
                10      all.
                11             48.   To protect both consumers and healthcare workers on the front lines of
                12      the COVID-19 battle from deception and inferior products, to reduce time wasted
                13      by healthcare providers and procurement officers on scams, as well as to protect
                14      3M’s goodwill, reputation, and carefully curated 3M brand, 3M is working
                15      diligently with law enforcement, retail partners, and others to combat unethical and
                16      unlawful business practices related to 3M-brand N95 respirators. For example, in
                17      late March 2020, 3M’s Chief Executive Offer, Mike Roman, sent a letter to U.S.
                18      Attorney General, William Barr, and the President of the National Governor’s
                19      Association, Larry Hogan of Maryland, to offer 3M’s partnership in combatting
                20      price-gouging. As shown in the inset image below, additional examples of 3M’s
                21      efforts to combat price-gouging, counterfeiting, and other unlawful conduct during
                22      COVID-19 include:
                23                   a. 3M posted on its website the list price for its 3M-brand N95
                24                      respirators so that consumers can readily identify inflated pricing
                                        (See Exhibit 3);
                25
                                     b. 3M created a form on its website that consumers can use to report
                26                      suspected incidents of price-gouging and counterfeiting (See
                                        Exhibit 5); and
                27
                                     c. 3M created a fraud “hotline” that consumers can call to report
                28                      suspect incidents of price-gouging and counterfeiting.
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                    8
                    9                Defendants’ Unlawful Conduct
                10
                              49.    Despite 3M’s extensive measures to combat price-gouging and prevent
                11
                        illicit sales of 3M-brand N95 respirators, bad actors continue to attempt to exploit
                12
                13      consumers.     Defendants are prime examples of this unlawful behavior, which
                14
                        jeopardizes public health and safety and risks damaging 3M’s brands and reputations.
                15
                16            50.    On February 24, 2020, Defendants began selling what were purported
                17      to be 3M-branded N95 respirators
                18      across three connected accounts on
                19      Amazon.com. Defendants maintained
                20      at least forty-five (45) different
                21      Amazon Standard Identification
                22      Numbers (ASINs) used to offer
                23      products advertised as being 3M-
                24      branded N95 respirators. A sample of
                25      one of Defendants’ advertisements of
                26      3M-brand respirators, under the seller
                27      name “KM BUY,” is shown here:
                28
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                    1         51.    Moreover, in an effort to profit from the public’s critical need of PPE
                    2   during the global COVID-19 pandemic, Defendants advertised 3M-branded N95
                    3   respirators at a consistently exorbitant price per respirator. Across all three
                    4   accounts, the average price per respirator was $23.21. For reference, this is almost
                    5   20 times 3M’s posted list price of $1.27 per respirator for the same or comparable
                    6   products.
                    7         52.    To give a detailed example, Defendants made $65,183.42 selling
                    8   ASIN: B00S04AT4U, titled “3M OHESD 142-8210 Plus 8210Plus Particulate
                    9   Respirator N95 - Pack of Two Masks,” at an average price per respirator of $24.83
                10      (further increased to an average price per respirator of $27.99 when accounting for
                11      Defendants’ shipping & handling charges).
                12            53.    By contrast, the list price for 3M’s 8210Plus N95 respirators is $1.18 -
                13      $1.50 per respirator. See Ex. 3.
                14            54.    Defendants also routinely misrepresented what would be delivered to
                15      purchasers of their unauthorized quantities of purported 3M-branded N95
                16      respirators. While the ASIN titles indicated that the customers would be
                17      purchasing a specific quantity of respirators, customers routinely received fewer
                18      than they had paid for. Numerous complaints were filed with Amazon related to
                19      this fraud, including, but not limited to, the following:
                20                   a. “The description said ten masks per pack – two packs for $40.
                21                      What arrived were two (2) masks. I have NO immune system and I
                                        wanted more masks. This is a rip off. I spent $40 for two masks. I
                22                      will not let this go – I will report these people. This is not right.
                                        Do not buy from these people – they are lying.”
                23
                                     b. “Today I received this mask. I think this is a fake mask there is no
                24                      other information like manufacturing details and all. They charged
                25                      almost $26 including fast track delivery charges. This is useless
                                        product.”
                26
                                     c. We expected a box of 10 of the 3M N95 masks. We received 4
                27                      masks total. We paid $24.99 for ONE mask AND $29.92 shipping
                                        for a grand total of $129.88. Yep, we were SCAMMED!”
                28
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                    1                d. The original post said 10 for $29.99 and I received one in a Ziploc
                                        bag . . .”
                    2
                                     e. “I think these are fake N95 Mask and seller price gouged me 20
                    3                   times the retail price. 10 pack of fake N95 mask for $150 is just
                    4                   crooked during this pandemic…”
                    5                f. “The seller Cheating in description!! Write 2-packs, but it is only
                                        two masks for 80$,. The product also is uncomfortable and doesn't
                    6                   protect from anything! Worst experience!”
                    7         55.    Defendants’ product listings were intended to defraud, mislead, and/or
                    8   deceive a reasonable consumer into believing that Defendants are authorized
                    9   distributors of 3M’s products and/or have an association or affiliation with 3M.
                10            56.    By selling and delivering to customers counterfeit, damaged, deficient,
                11      or otherwise altered respirators and engaging in price-gouging, Defendants caused
                12      irreparable damage to 3M’s reputation and its famous 3M Marks. There is no
                13      adequate remedy at law for these injuries.
                14            57.    Based on the foregoing, 3M seeks relief against Defendants for federal
                15      and state trademark infringement, trademark counterfeiting, unfair competition,
                16      false association, false endorsement, false designation of origin, trademark dilution,
                17      false advertising, and unlawful, unfair, and fraudulent business acts and practices.
                18                                V.     CLAIMS FOR RELIEF
                19                                FIRST CLAIM FOR RELIEF
                20                  Trademark Counterfeiting – 15 U.S.C. §§ 1114(1), 1116(d)
                21            58.    3M repeats and incorporates by reference the statements and
                22      allegations in the preceding paragraphs of the Complaint as though set forth fully
                23      herein.
                24            59.    Defendants are using spurious designations that are identical with, or
                25      substantially indistinguishable from, the 3M Marks.
                26            60.    Defendants have used these spurious designations in commerce
                27      knowing they are counterfeit to advertise, promote, offer for sale, and sell non-3M
                28      respirators, including, for example, on their Amazon account pages listing the
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                    1   products that Defendants purportedly have available for sale.
                    2         61.    Defendants’ use of the spurious designations in commerce on, for,
                    3   and/or in connection with the advertising, promotion, offering for sale, and/or sale
                    4   of products, as alleged, herein is causing, and is likely to continue to cause,
                    5   consumer confusion, mistake, and/or deception about whether Defendants and/or
                    6   Defendants’ products originate with, and/or are sponsored or approved by, and/or
                    7   offered under a license from, 3M.
                    8         62.    Based on 3M’s longstanding and continuous use of its 3M Marks in
                    9   United States commerce, as well as the federal registration of the 3M Marks,
                10      Defendants had actual and constructive knowledge of 3M’s superior rights in and to
                11      the 3M Marks when Defendants began using the 3M Marks as part of their bad-
                12      faith scheme to confuse and deceive consumers.
                13            63.    Upon information and belief, Defendants adopted and used the 3M
                14      Marks in furtherance of Defendants’ willful, deliberate, and bad-faith scheme of
                15      trading upon the extensive consumer goodwill, reputation, fame, and commercial
                16      success of products that 3M offers under its 3M Marks, including, without
                17      limitation, 3M-brand N95 respirators.
                18            64.    Upon information and belief, Defendants have made, and may
                19      continue to make, ill-gotten profits and gain from their unauthorized use of the 3M
                20      Marks, to which Defendants are not entitled at law or in equity.
                21            65.    Defendants’ acts and conduct complained of herein constitute
                22      trademark counterfeiting in violation of 15 U.S.C. §§ 1114(1) and 1116(d).
                23            66.    3M has suffered, and will continue to suffer, irreparable harm from
                24      Defendants’ acts and conduct complained of herein, unless restrained by law. The
                25      damage suffered by 3M is exacerbated by the fact that Defendants are advertising
                26      and offering for sale non-3M respirators at exorbitantly inflated prices during a
                27      global pandemic when 3M’s products are necessary to protect public health. Such
                28      conduct invites public criticism of 3M and the manner in which 3M’s respirators
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                    1   are being distributed and sold during the COVID-19 pandemic and creates
                    2   confusion about 3M’s role in the marketplace for respirators essential to
                    3   safeguarding public health. Whereas 3M’s corporate values and brand image center
                    4   around the application of science to improve lives, Defendants’ conduct imminently
                    5   and irreparably harms 3M’s brand. The acts of Defendants described herein have
                    6   been willful and in bad faith, making this an exceptional case within the meaning of
                    7   15 U.S.C. § 1117(a).
                    8         67.    3M has been damaged by the acts of Defendants in an amount,
                    9   currently unknown, to be proved at trial and then donated to charitable COVID-19
                10      relief efforts, and 3M requests the relief set forth in the Prayer for Relief below.
                11                                 SECOND CLAIM FOR RELIEF
                12                        Trademark Infringement – 15 U.S.C. § 1114(1)
                13            68.    3M repeats and incorporates by reference the statements and
                14      allegations in the preceding paragraphs of the Complaint as though set forth fully
                15      herein.
                16            69.    3M is the exclusive owner of each of the federally registered 3M
                17      Marks identified herein.
                18            70.    3M’s exclusive rights in and to each of the 3M Marks predate any
                19      rights that Defendants could establish in and to any mark that consists of “3M” in
                20      whole and/or in part.
                21            71.    The 3M Marks are fanciful and/or arbitrary when used for respirators
                22      and, therefore, are inherently distinctive.
                23            72.    The 3M Marks have acquired distinctiveness and identify 3M as the
                24      exclusive source of products offered under the 3M Marks including, without
                25      limitation, 3M-brand N95 respirators.
                26            73.    Defendants are using the 3M Marks in commerce on to advertise,
                27      promote, offer for sale, and sell purported 3M-branded N95 respirators, that are
                28      counterfeit, damaged, deficient, or otherwise altered.
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                    1          74.    Defendants’ use of the 3M Marks in commerce on, for, and/or in
                    2   connection with the advertising, promotion, offering for sale, and/or sale of
                    3   products is causing, and is likely to continue to cause, consumer confusion,
                    4   mistake, and/or deception about Defendants’ affiliation with 3M and the
                    5   authenticity and origin of the 3M-branded products Defendants are advertising and
                    6   selling.
                    7          75.    3M has not consented to the use of its famous 3M Marks by
                    8   Defendants.
                    9          76.    Based on 3M’s longstanding and continuous use of its 3M Marks in
                10      United States commerce, as well as the federal registration of the 3M Marks,
                11      Defendants had actual and constructive knowledge of 3M’s superior rights in and to
                12      the 3M Marks when Defendants began using the 3M Marks as part of their bad-
                13      faith scheme to confuse and deceive consumers.
                14             77.    Upon information and belief, Defendants adopted and used the 3M
                15      Marks in furtherance of Defendants’ willful, deliberate, and bad-faith scheme of
                16      trading upon the extensive consumer goodwill, reputation, fame, and commercial
                17      success of products that 3M offers under its 3M Marks, including, without
                18      limitation, 3M-brand N95 respirators.
                19             78.    Upon information and belief, Defendants have made, and will continue
                20      to make, substantial profits and gain from their unauthorized use of the 3M Marks,
                21      to which Defendants are not entitled at law or in equity.
                22             79.    Defendants’ acts and conduct complained of herein constitute
                23      trademark infringement in violation of 15 U.S.C. § 1114(1).
                24             80.    3M has suffered, and will continue to suffer, irreparable harm from
                25      Defendants’ acts and conduct complained of herein, unless restrained by law. The
                26      damage suffered by 3M is exacerbated by the fact that Defendants are advertising
                27      and offering for sale purported 3M-branded N95 respirators at exorbitantly inflated
                28      prices during a global pandemic when 3M’s products are necessary to protect
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                    1   public health. Such conduct invites public criticism of 3M and the manner in which
                    2   3M’s N95 respirators are being distributed and sold during the COVID-19
                    3   pandemic, and is likely to cause confusion about 3M’s role in the marketplace for
                    4   respirators that are essential to safeguarding public health. Whereas 3M’s corporate
                    5   values and brand image center around the application of science to improve lives,
                    6   Defendants’ conduct imminently and irreparably harms 3M’s brand.
                    7         81.      3M has been damaged by the acts of Defendants in an amount,
                    8   currently unknown, to be proved at trial and then donated to charitable COVID-19
                    9   relief efforts, and 3M requests the relief set forth in the Prayer for Relief below.
                10                                 THIRD CLAIM FOR RELIEF
                11           Unfair Competition, False Endorsement, False Association, and False
                12                        Designation of Origin – 15 U.S.C. § 1125(a)(1)(A)
                13            82.      3M repeats and incorporates by reference the statements and
                14      allegations in the preceding paragraphs of the Complaint as though set forth fully
                15      herein.
                16            83.      Defendants advertised what were purported to be 3M-branded
                17      products at grossly inflated prices, well above 3M’s list prices for 3M brand N95
                18      respirators.
                19            84.      Upon information and belief, and based upon customer feedback
                20      regarding Defendants’ ASIN listings, Defendants delivered to consumers products
                21      that were materially different than legitimate 3M products, including counterfeit,
                22      damaged, deficient, or otherwise altered products (e.g., 3M products removed from
                23      their original packaging and/or sold without required instructions and labeling
                24      information).
                25            85.      Defendants’ acts and conduct complained of herein constitute unfair
                26      competition, false endorsement, false association, and/or false designation of origin
                27      in violation of 15 U.S.C. § 1125(a)(1)(A).
                28
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                    1         86.       3M has suffered, and will continue to suffer, irreparable harm from
                    2   Defendants’ acts and conduct complained of herein, unless restrained by law. 3M
                    3   has been damaged by the acts of Defendants in an amount, currently unknown, to
                    4   be proved at trial and donated to charitable COVID-19 relief efforts, and 3M
                    5   requests the relief set forth in the Prayer for Relief below.
                    6                              FOURTH CLAIM FOR RELIEF
                    7                         Trademark Dilution – 15 U.S.C. § 1125(c)
                    8         87.       3M repeats and incorporates by reference the statements and
                    9   allegations in the preceding paragraphs of the Complaint as though set forth fully
                10      herein.
                11            88.       The 3M Marks are famous and have been famous at all relevant times.
                12      They were famous before and at the time Defendants began using the 3M Marks in
                13      commerce on, for, and/or in connection with the advertising, promotion, offering
                14      for sale, and/or sale of products (including, without limitation, 3M’s branded N95
                15      respirators).
                16            89.       Defendants’ misuse of Plaintiff’s famous 3M Marks in commerce on,
                17      for, and/or in connection with the advertising, promotion, offering for sale, and/or
                18      sale of 3M-branded products that are counterfeit, damaged, deficient or otherwise
                19      altered is likely to dilute the distinctive quality of the famous 3M Marks, such that
                20      the famous 3M Marks’ established selling power and value will be whittled away.
                21            90.       Defendants’ misconduct also threatens to harm the reputation of the
                22      3M Marks, constituting dilution by tarnishment of the famous 3M Marks.
                23            91.       Defendants’ acts and conduct complained of herein constitute
                24      trademark dilution in violation of 15 U.S.C. § 1125(c).
                25            92.       3M has suffered, and will continue to suffer, irreparable harm from
                26      Defendants’ acts and conduct complained of herein, unless restrained by law. The
                27      damage suffered by 3M is exacerbated by the fact that Defendants are
                28      opportunistically operating their illegal scheme and misrepresentations about 3M-
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                    1   branded respirators during a global pandemic when those products are essential to
                    2   safeguard the public health. Such conduct invites public criticism of 3M and the
                    3   manner in which 3M’s respirators are being distributed and creates a likelihood of
                    4   confusion about 3M’s role in the marketplace for respirators. Whereas 3M’s
                    5   corporate values and brand image center around the application of science to
                    6   improve lives, Defendants’ conduct imminently and irreparably harms 3M’s brand.
                    7         93.    3M has been damaged by the acts of Defendants in an amount,
                    8   currently unknown, to be proved at trial and donated to charitable COVID-19 relief
                    9   efforts, and 3M requests the relief set forth in the Prayer for Relief below.
                10                                FIFTH CLAIM FOR RELIEF
                11                        False Advertising – 15 U.S.C. § 1125(a) et seq.
                12            94.    3M repeats and incorporates by reference the statements and
                13      allegations in the preceding paragraphs of the Complaint as though set forth fully
                14      herein.
                15            95.    The statements on Defendants’ Amazon product detail pages constitute
                16      commercial advertising and/or commercial promotion.
                17            96.    Defendants were involved in interstate commerce because their
                18      Amazon product detail pages were accessible nationwide and out-of-state
                19      consumers did in fact purchase products from those pages.
                20            97.    The statements on Defendants’ Amazon product detail pages contained
                21      false, misleading, and/or deceptive statements about the nature, characteristics,
                22      qualities, and/or geographic origin of 3M and the 3M-brand products, including,
                23      without limitation, 3M’s branded N95 respirators.
                24            98.    Among these, Defendants advertised, promoted, offered for sale, and
                25      sold 3M-branded products (including 3M’s branded N95 respirators) that are
                26      counterfeit, damaged, deficient, or otherwise altered. Defendants also made
                27      numerous other false representations about the 3M-branded products they
                28      advertised and sold including advertising “10 packs” of respirators and delivering
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                    1   only one or two respirators for the “10 pack” price.
                    2         99.     The false, misleading, and/or deceptive statements on Defendants’
                    3   Amazon product detail pages were material to consumers’ purchasing decisions.
                    4         100. Defendants’ acts constitute willful false statements in connection with
                    5   goods and/or services distributed in interstate commerce, in violation of section
                    6   43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
                    7         101. The statements on Defendants’ Amazon product detail pages have
                    8   directly and/or proximately caused and/or are likely to cause 3M to suffer
                    9   irreparable diminution to the 3M brand and 3M Marks’ reputation, fame, and
                10      goodwill.
                11            102. 3M has suffered, and will continue to suffer, irreparable harm from
                12      Defendants’ acts and conduct complained of herein, unless restrained by law. 3M
                13      has been damaged by the acts of Defendants in an amount, currently unknown, to
                14      be proved at trial and donated to charitable COVID-19 relief efforts, and 3M
                15      requests the relief set forth in the Prayer for Relief below.
                16                                 SIXTH CLAIM FOR RELIEF
                17          Price-Gouging and False Advertising in Violation of California Unfair
                18                Competition Law – Business & Professions Code, § 17200 et seq.
                19            103. 3M repeats and incorporates by reference the statements and
                20      allegations in the preceding paragraphs of the Complaint as though set forth fully
                21      herein.
                22            104. On March 4, 2020, California Governor Gavin Newsom declared a
                23      state of emergency to exist in California in response to COVID-19.
                24            105. That same day, California Attorney General Xavier Becerra issued a
                25      price-gouging alert reminding all Californians that, under Penal Code § 396, price-
                26      gouging is illegal in all California communities during the declared state of
                27      emergency.
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                    1          106. On March 12, 2020, Governor Newsom issued an executive order
                    2   further enhancing the ability of the California state and local governments to
                    3   respond to COVID-19.
                    4          107. On information and belief, Defendants sold or offered to sell consumer
                    5   goods, emergency supplies, and medical supplies (including, but not limited to,
                    6   purported 3M’s branded N95 respirators) for a price more than 10 percent greater
                    7   than the price charged by Defendants for those goods prior to the proclamation or
                    8   declaration of emergency, in violation of Penal Code § 396.
                    9          108. Defendants’ violation of Penal Code § 396 constitutes an unlawful
                10      business practice and an act of unfair competition within the meaning of California
                11      Business & Professions Code § 17200, et seq. It is also a crime under California
                12      law.
                13             109. Defendants’ unauthorized use in commerce of the 3M Marks is also
                14      likely to cause consumer confusion or mistake or to deceive consumers into
                15      believing that Defendants’ products and/or services are sponsored by, endorsed by,
                16      or originate from 3M or are otherwise connected or affiliated with or approved by
                17      3M, thereby causing loss, damage, and injury to 3M and to the purchasing public,
                18      constituting unlawful, unfair, and fraudulent business practices in violation of
                19      California Business & Professions Code 17200, et seq.
                20             110. Defendants’ marketing and advertisement of products with the 3M
                21      Marks, as alleged herein, was intended to and did mislead 3M’s customers and
                22      consumers to believe that such products were manufactured or distributed by, or
                23      authorized for manufacture or distribution by, 3M, in violation of California
                24      Business & Professions Code § 17200, et seq.
                25             111. This conduct, together with Defendants’ other acts alleged herein
                26      constitute unfair, unlawful, and fraudulent business acts and practices under
                27      California Business & Professions Code § 17200, et seq., because such acts are
                28      forbidden by various state and federal laws and are unscrupulous, unfair, and
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                    1   injurious to 3M. Defendants’ acts have irreparably damaged 3M and the
                    2   consuming public and will continue to do so unless restrained by this Court, and
                    3   3M is without an adequate remedy at law.
                    4         112. As a result of Defendants’ wrongful conduct, 3M is entitled to, among
                    5   other relief, an order enjoining and restraining Defendants from diverting,
                    6   distributing, and selling the 3M-branded products, and 3M is entitled to restoration
                    7   of any funds that were wrongfully collected by Defendants so that those funds may
                    8   be donated to charitable COVID-19 relief efforts of 3M’s choosing. 3M requests
                    9   the relief set forth in the Prayer below.
                10                               SEVENTH CLAIM FOR RELIEF
                11                False Advertising – Business & Professions Code, § 17500 et seq.
                12            113. 3M repeats and incorporates by reference the statements and
                13      allegations in the preceding paragraphs of the Complaint as though set forth fully
                14      herein.
                15            114. As alleged herein, Defendants have engaged in violations of California
                16      Business & Professions Code § 17500, et seq. by making or disseminating untrue or
                17      misleading statements, with the intent to induce the purchase of 3M-branded N95
                18      respirators. Defendants represented that Defendants were agents of and/or
                19      authorized by 3M to sell and/or distribute 3M-branded products when Defendants
                20      knew or by the exercise of reasonable care should have known the statements were
                21      untrue, misleading, and likely to deceive the reasonable consumer and the public.
                22            115. Defendants engaged in the false and/or misleading advertising and
                23      marketing of the 3M-branded N95 respirators, as alleged herein, with the intent to
                24      directly or indirectly induce consumers to purchase those respirators.
                25            116. Had Defendants truthfully advertised that they were not authorized to
                26      sell 3M-branded products, consumers would not have purchased the products or
                27      would have purchased a different product from another manufacturer or distributor.
                28
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                    1          117. As a direct and proximate result of the aforementioned acts and
                    2   omissions by Defendants, Defendants received and continues to hold monies
                    3   rightfully belonging to 3M and that 3M will donate to charitable COVID-19 relief
                    4   efforts.
                    5          118. 3M requests the relief set forth in the Prayer below.
                    6                            EIGHTH CLAIM FOR RELIEF
                    7                            Common Law Unfair Competition
                    8          119. 3M repeats and incorporates by reference the statements and
                    9   allegations in the preceding paragraphs of the Complaint as though set forth fully
                10      herein.
                11             120. Defendants’ acts and conduct complained of herein constitute unfair
                12      competition in violation of California common law.
                13             121. 3M has suffered, and will continue to suffer, irreparable harm from
                14      Defendants’ acts and conduct complained of herein, unless restrained by law.
                15             122. 3M has been damaged by the acts of Defendants in an amount,
                16      currently unknown, to be proved at trial and donated to charitable COVID-19 relief
                17      efforts, and 3M requests the relief set forth in the Prayer below.
                18                                    PRAYER FOR RELIEF
                19             WHEREFORE, based on Defendants’ conduct complained of herein, 3M
                20      asks this Court:
                21             A.    To enter an Order, finding in 3M’s favor on each Claim for Relief
                22      asserted herein;
                23             B.    For Claims One through Five under the Lanham Act for federal
                24      trademark counterfeiting, federal trademark infringement, unfair competition, false
                25      endorsement, false association, and false designation of origin, trademark dilution,
                26      and false advertising:
                27                   1.     Pursuant to 15 U.S.C. § 1116:
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                    1           (i)   To permanently enjoin Defendants, their agents, servants,
                    2                 employees, officers and all persons and entities in active
                    3                 concert and participation with them from misusing the 3M
                    4                 Marks (or any other mark(s) confusingly similar thereto) for,
                    5                 on, and/or in connection with the manufacture, distribution,
                    6                 advertising, promoting, offering for sale, and/or sale of any
                    7                 goods or services, including, without limitation, 3M-brand
                    8                 N95 respirator Marks, including but not limited to (A) using
                    9                 the 3M Marks to identify counterfeit products or products
                10                    which materially differ from genuine 3M products; (B) using
                11                    the 3M Marks in a way that mispresents Defendants’
                12                    relationship with 3M or 3M’s relationship with the products
                13                    being offered by Defendants; (C) using the 3M Marks in way
                14                    which dilutes their distinctive quality or tarnishes 3M’s
                15                    reputation; and (D) using more of the 3M Marks than is
                16                    necessary to identify the products being offered (such as use of
                17                    the 3M logo in product listings and advertising other than in
                18                    photos of the logo as it appears on 3M packaging for genuine
                19                    3M products being offered for sale);
                20              (ii) To permanently enjoin Defendants, their agents, servants,
                21                    employees, officers and all persons and entities in active
                22                    concert and participation with them from falsely representing
                23                    themselves as being distributors, authorized retailers, and/or
                24                    licensees of 3M and/or any of 3M’s products (including,
                25                    without limitation, 3M-brand N95 respirators) and/or
                26                    otherwise falsely representing to have an association or
                27                    affiliation with, sponsorship by, and/or connection with, 3M
                28                    and/or any of 3M’s products;
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                    1             (iii) To permanently enjoin Defendants, their agents, servants,
                    2                    employees, officers and all persons and entities in active
                    3                    concert and participation with them from misrepresenting the
                    4                    quality, nature or characteristics of 3M products being offered;
                    5             (iv) To order Defendants to file with the Court and serve upon
                    6                    3M’s counsel, within 30 days after service of the order of
                    7                    injunction, a report in writing under oath setting forth in detail
                    8                    the manner and form in which Defendants have complied with
                    9                    the injunction;
                10           2.         Pursuant to 15 U.S.C. § 1117:
                11                (i)    To order Defendants to provide 3M with a full accounting of
                12                       all manufacture, distribution and sale of products under the 3M
                13                       Marks (including, without limitation, 3M-brand N95
                14                       respirators), as well as all profits derived therefrom;
                15                (ii) To order Defendants to pay to 3M—so as to be donated
                16                       charitably—all of Defendants’ profits derived from the sale of
                17                       infringing goods offered under the 3M Marks (including,
                18                       without limitation, 3M-brand N95 respirators) or, in the
                19                       alternative, statutory damages of $2,000,000 for the willful use
                20                       of a counterfeit mark, per counterfeit mark per type of goods
                21                       infringed, pursuant to §1117(c)(2);
                22                (iii) To find that Defendants’ acts and conduct complained of
                23                       herein render this case “exceptional”;
                24                (iv) To award 3M—so as to be donated charitably—treble
                25                       damages in connection with Defendants’ activities;
                26                (v) To award 3M reasonable attorneys’ fees pursuant to §1117(a)-
                27                       (b); and
                28
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                    1                      (vi) To award 3M the costs of this action and pre-judgment and
                    2                          post-judgment interest.
                    3                 3.      Pursuant to 15 U.S.C. § 1118, to order the destruction of all
                    4   unauthorized goods and materials within the possession, custody, and control of
                    5   Defendants that bear, feature, and/or contain any copy or colorable imitation of
                    6   3M’s Marks.
                    7         C.     For Claims Six, Seven, and Eight, to issue an order permanently
                    8   enjoining Defendants, their officers, agents, representatives, servants, employees,
                    9   successors and assigns, and all others in active participation with them from
                10      engaging in conduct involving the advertisement or sale of 3M-branded products as
                11      described above, to award 3M restitution in the form of disgorgement of profits
                12      earned by Defendants in unlawfully selling 3M products, and to award Defendants
                13      their attorneys’ fees, costs, and expenses pursuant to Cal. C.C.P. § 1021.5, with all
                14      such monetary relief to be donated to charitable COVID-19 relief efforts.
                15            D.     To award 3M such other relief that the Court deems just and equitable.
                16                                  DEMAND FOR JURY TRIAL
                17            3M requests a trial by jury for all issues so triable pursuant to FED. R. CIV. P.
                18      38(b) and 38(c).
                19      DATED this 9th day of June 2020.
                20                                             NORTON ROSE FULBRIGHT US LLP
                21                                             By: / s/ Kevin Mayer_____________
                22                                             Kevin Mayer
                                                               555 South Flower Street
                23                                             Forty-First Floor
                                                               Los Angeles, CA 90071
                24
                25                                             Christopher Weimer (pro hac vice forthcoming)
                                                               PIRKEY BARBER PLLC
                26                                             1801 East 6th Street, Suite 300
                                                               Austin, Texas 78702
                27
                                                               Attorneys for Plaintiff 3M COMPANY
                28
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                         Exhibit 1




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Published on 3M News | Unit ed St at es (ht t ps://news.3m.com) on 4/6/20 5:58 pm CDT



3M and the Trump Administration Announce Plan to
Import 166.5 Million Additional Respirators into the
United States over the Next Three Months
Release Date:
Monday, April 6, 2020 5:58 pm CDT

T erms:
 Company (English)

Dateline City:
ST. PAUL, Minn.


Imports to supplement the 35 million N95 respirators 3M currently
produces in U.S. per month
ST. PAUL, Minn.--(BUSINESS WIRE)--Today 3M and t he Trump Administ rat ion are announcing a plan t o import 166.5 million
respirat ors over t he next t hree mont hs t o support healt hcare workers in t he Unit ed St at es. 3M and t he Administ rat ion
worked t oget her t o ensure t hat t his plan does not creat e furt her humanit arian implicat ions for count ries current ly fight ing
t he COVID-19 out break, and commit t ed t o furt her collaborat e t o fight price gouging and count erfeit ing.

“I want t o t hank President Trump and t he Administ rat ion for t heir leadership and collaborat ion,” said 3M chairman and CEO
Mike Roman. “We share t he same goals of providing much-needed respirat ors t o Americans across our count ry and
combat ing criminals who seek t o t ake advant age of t he current crisis. These import s will supplement t he 35 million N95
respirat ors we current ly produce per mont h in t he Unit ed St at es.”

“Given t he realit y t hat demand for respirat ors out paces supply, we are working around t he clock t o furt her expand our
capacit y, while priorit izing and redirect ing our supplies t o serve t he most crit ical areas,” Roman cont inued. “We’ll cont inue t o
do all we can t o prot ect our heroic healt hcare workers and first responders, and I want t o t hank our 96,000 3Mers for your
t ireless effort s – including t hose in our plant s and dist ribut ion cent ers around t he world.”

3M will import 166.5 million respirat ors over t he next t hree mont hs primarily from it s manufact uring facilit y in China, st art ing in
April. The Administ rat ion is commit t ed t o working t o address and remove export and regulat ory rest rict ions t o enable t his
plan. The plan will also enable 3M t o cont inue sending U.S. produced respirat ors t o Canada and Lat in America, where 3M is t he
primary source of supply.

As a global company, 3M has manufact uring operat ions around t he world t o serve local and regional market s. As t he
pandemic unfolds in different st ages around t he world, 3M will cont inue t o work wit h government s t o direct respirat ors and
ot her supplies t o serve areas most in need.

Beginning in January, 3M ramped up product ion of N95 respirat ors and doubled it s global out put t o 1.1 billion per year –
including t he 35 million a mont h in t he Unit ed St at es. 3M has already put int o mot ion addit ional invest ment s and act ions t hat
will enable it t o double it s capacit y again t o 2 billion globally wit hin 12 mont hs, wit h addit ional capacit y t o begin coming online
in t he next 60 t o 90 days. In t he Unit ed St at es, for example, 3M expect s t o be producing N95 respirat ors at a rat e of 50
million per mont h in June, a 40 percent increase from current levels.

Last week 3M announced addit ional act ions t o address price gouging and count erfeit act ivit y relat ed t o it s respirat ors. 3M
has not changed t he prices it charges for respirat ors, and will t ake decisive act ion against t hose seeking t o t ake illegal and
unet hical advant age of t he COVID-19 out break.

Fo rward-Lo o king Statements
This news release cont ains forward-looking informat ion about 3M's financial result s and est imat es and business prospect s
t hat involve subst ant ial risks and uncert aint ies. You can ident ify t hese st at ement s by t he use of words such as "ant icipat e,"
"est imat e," "expect ," "aim," "project ," "int end," "plan," "believe," "will," "should," "could," "t arget ," "forecast " and ot her words
and t erms of similar meaning in connect ion wit h any discussion of fut ure operat ing or financial performance or business plans
or prospect s. Among t he fact ors t hat could cause act ual result s t o differ mat erially are t he following: (1) worldwide
economic, polit ical, regulat ory, capit al market s and ot her ext ernal condit ions and ot her fact ors beyond t he Company's
cont rol, including nat ural and ot her disast ers or climat e change affect ing t he operat ions of t he Company or it s cust omers
and suppliers; (2) risks relat ed t o public healt h crises such as t he global pandemic associat ed wit h t he coronavirus (COVID-
19); (3) liabilit ies relat ed t o cert ain fluorochemicals, including lawsuit s concerning various PFAS-relat ed product s and
chemist ries, and claims and government al regulat ory proceedings and inquiries relat ed t o PFAS in a variet y of jurisdict ions; (4)
legal proceedings, including significant development s t hat could occur in t he legal and regulat ory proceedings described in
t he Company's Annual Report on Form 10-K for t he year ended Dec. 31, 2019, and any subsequent quart erly report s on Form
10-Q (t he “Report s”); (5) compet it ive condit ions and cust omer preferences; (6) foreign currency exchange rat es and
fluct uat ions in t hose rat es; (7) t he t iming and market accept ance of new product offerings; (8) t he availabilit y and cost of
purchased component s, compounds, raw mat erials and energy (including oil and nat ural gas and t heir derivat ives) due t o
short ages, increased demand or supply int errupt ions (including t hose caused by nat ural and ot her disast ers and ot her

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event s); (9) unant icipat ed problems or delays wit h t he phased implement at ion of a global ent erprise resource planning (ERP)
syst em, or securit y breaches and ot her disrupt ions t o t he Company's informat ion t echnology infrast ruct ure; (10) t he impact
of acquisit ions, st rat egic alliances, divest it ures, and ot her unusual event s result ing from port folio management act ions and
ot her evolving business st rat egies, and possible organizat ional rest ruct uring; (11) operat ional execut ion, including scenarios
where t he Company generat es fewer product ivit y improvement s t han est imat ed; (12) financial market risks t hat may affect
t he Company’s funding obligat ions under defined benefit pension and post ret irement plans; and (13) t he Company's credit
rat ings and it s cost of capit al. Changes in such assumpt ions or fact ors could produce significant ly different result s. A furt her
descript ion of t hese fact ors is locat ed in t he Report s under "Caut ionary Not e Concerning Fact ors That May Affect Fut ure
Result s" and "Risk Fact ors" in Part I, It ems 1 and 1A (Annual Report ) and in Part I, It em 2 and Part II, It em 1A (Quart erly
Report s), as updat ed by applicable Current Report s on Form 8-K. The informat ion cont ained in t his news release is as of t he
dat e indicat ed. The Company assumes no obligat ion t o updat e any forward-looking st at ement s cont ained in t his news
release as a result of new informat ion or fut ure event s or development s.

About 3M
At 3M, we apply science in collaborat ive ways t o improve lives daily. Wit h $32 billion in sales, our 96,000 employees connect
wit h cust omers all around t he world. Learn more about 3M’s creat ive solut ions t o t he world’s problems at www.3M.com or on
Twit t er @3M or @3MNews.



Language:
English

Contact:
Jennifer Ehrlich
651-733-8805

T icker Slug:
Ticker: MMM
Exchange: NYSE


Source URL: https://news.3m.com/press-release/company-english/3m-and-trump-administration-announce-plan-import-1665-
million-addition




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4/9/2020                                              2019 Coronavirus (COVID-19} I 3M Protective lnfonnation




           3M          Science.
                       Applied to Life.™


           PRODUCTS FOR                         PRODUCTS FOR                                  ABOUT USC>
           BUSINESS                             CONSUMERS



              3M United States > Coronavirus




    Helping the
      world
    respond to
    COVID-19
3M is committed to doing everything we can to fight
COVID-19 and support healthcare workers globally
     The COVID-19 pandemic continues to affect all of us, and 3M is
     working around-the-clock to help provide critical tools for the fight.
     Our current focus: supporting healthcare and front-line workers
     around the world by manufacturing products they need to help
     protect their lives as they treat others.




https://www.3m.com/3M/en_US/company-us/coronavirus/                                                             119

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4/9/2020                                             2019 Coronavirus (COVID-19) I 3M Protective Information


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     Increasing                Partnering                   Getting                     Combatting
     output of N95             with others to               product to                     •
                                                                                         price-
     respirators               supply more                  those who                   gougmg,
                                                                                                 .
     Doubled our global        Working with                 need it most                 fraud and
     output rate to            governments to                                           counterfeiting
     nearly 100 million                                     In the last
                               investigate
                                                            seven days of
     respirators per           alternate                                                 Working with law
     month; expect to          manufacturing                March 2020, we
                                                            sent 10 million N95          enforcement, retail
     produce about 50          scenarios and                                             partners and
     million respirators       exploring                    respirators to
                                                            healthcare facilities        others to identify
     per month in the          coalitions with                                           unethical, illegal
                                                            across the U.S.
     U.S. by June              other companies to                                        counterfeiters and
     2020.                     increase capacity                                         price-gougers
                                                            In the US, 90% of
                               further.                     our N95                      related to 3M's
     Anticipate                                                                          respirators,
     doubling our global       Partnering with              respirators
                                                            designated for               remove them from
     capacity to almost        Ford Motor                                                e-commerce
     2 billion respirators     Company to                   healthcare
                                                            workers;                     partner sites, and
     in the next 12            increase                                                  refer them to the
                                                            remainder for
     months.                   production of 3M                                          appropriate law
                               Powered Air                  critical industries
                                                            including: food,             enforcement
     We have not               Purifying
                                                            energy and                   authorities.
     increased the             Respirators.
     prices we charge                                       pharmaceutical.
                                                                                        Inviting those with
     for 3M respirators        Secured                                                  concerns of
     in this crisis.                                        Maximizing
                               authorization from                                       potentially
                                                            production of
                               the Chinese                                              fraudulent activity,
                                                            other important
                               government to                                            price gouging, or
                               import about 10              products, including
                                                            hand sanitizers and         counterfeit 3M
                               million masks to                                         products to report
                               the US from our              disinfectants.
                                                                                        their concerns at
                               manufacturing                                            3M's website so
                               facility in China.                                       we can take action.




    WARNING: Fraud and Counterfeit Activity



https://www.3m.com/3M/en_US/company~s/coronavirus/                                                             2/9


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o4llll2ml)                                        2019 CGRlna'diua (COVID-18) I 3M Pllllecba lnftftualon
      We have created a new 3M hotline for the U.S. and Canada that
      end-users and purchasers of 3M products can call for information
      on how to identify authentic 3M products and to ensure product&
      are from 3M authorized distributors.


              -                   1(800) 421MJ688
                                  Clll ti. f111ud hotfiM.


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                                  STATEMENT: Fn1ucllillnt Aotivity, Priot Qougilg, Ind Collntlrftit
                                  Produc:w
                                  (PDF, 1,8 MB)




      3M rec:ommends purc:hasing our produc:U from a 3M eirthorized dill1ributor or dMler
      only. This offers 1he greateat 881uranc. that you will receive 111.1tflentic 3M product.

      If you need help identifying 3M authorized di11ributors and deahm1 in your area, p l -
      contact 3M Help C.nter or 1(888)364-3577 in tile United Swtes. In Canada, please
      contact 3M Canada Cu!tomer Service at 1(800)364-3577.




Learn about critical 3M products and
access helpful resources




                                                                                                           318

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4/9/2020                                              2019 Coronavirus (COVID-19) I 3M Protective Information




     Personal Protective                Commercial                              Supporting Health
                                        -        -
     Equipment (PPE)                    Cleaning Solutions                      Care Providers
     Proper selection and use           Get information and                     Every day, health care
     are key to utilizing               application tips on 3M                  workers on the front lines
     respirators to help reduce         cleaning and disinfectant               put themselves at risk to
     exposure to airborne               products for use by facility            ensure others are cared
     contaminants. Find                 managers, building service              for. 3M Medical offers
     Technical Bulletins, How           contractors and all who                 resources and information
     to Videos, Fit Testing             clean public spaces.                    to help protect providers
     Resources and more                                                         and patients, especially
                                        Learn more about commercial
     information to help you                                                    during this challenging
                                        cleaning solutions
     protect your employees                                                     time.
     and yourself.
                                                                                Learn more about health care
     Learn more about personal                                                  provider resources
     protective equipment




Stay up to date with 3M's response to COVID-19




httpa:llwww.3m.com/3M/en_US/company-us/coronavirus/                                                             419


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                             2019 CGRlna'diua (COVID-18) I 3M Pllllecba lnftftualon




Ap~I OI, 2020


 Putting hHlthcare worken first during the coronavirus outbreak




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                               2019 CGRlna'diua (COVID-18) I 3M Pllllecba lnftftualon




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https://www.3m.com/3M/en_US/company-<Js/coronavirus/                                                             7/9


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4/912020                                              2019 Coronavirus (COVID-19) I 3M Protective Information




••                              READ MORE IN THE 3M NEWS CENTER




Stay up-to-date on the science of COVID-19
If you have questions about the virus and how to best protect yourself,
please consult the sources below for the most current guidelines and
recommended precautions.
https://www.3m.com/3M/en_US/company-us/coronavirus/                                                             819


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4/9/2020                                               2019 Coronavirus (COVID-19) I 3M Protective Information




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                   CEN T ERS   FOR   DISEASE
                                                                               World Health
                   CONTROL AND PREVENTION                                      Organization

     Center for Disease Control and                           World Health Organizatio'!
     Prevention                                                  • Coronavirus
       • 2020 Situation Summary                                  • Infection prevention and control
                                                                   during health care when novel
       • What You Need to Know
                                                                   coronavirus (nCoV) infection is
       • Interim Infection Prevention and                          suspected
         Control Recommendations for
         Patients with Suspected or
         Confirmed Coronavirus Disease
         2019 (COVID-19) in Healthcare
         Settings




           Contact Media Relations                               Contact Us

           Media inquiries regarding 3M's
           response to the coronavirus situation
           should be referred to 3M Media
           Relations.




https:/lwww.3m .oom/3M/en_US/company-us/coronavirus/                                                             9/9


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                         Exhibit 3




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                                                                                                 May 18, 2020



            Fraudulent Activity, Price Gouging, and Counterfeit Products


At 3M, we are committed to doing all we can to help combat the fraudulent, price gouging, and counterfeit
activity that is unfortunately occurring in connection with COVID-19. Examples include people fraudulently
representing themselves as being affiliated with 3M and having authentic 3M product to sell, selling (or
offering to sell) 3M products at grossly inflated prices, selling counterfeit products falsely claimed to be from
3M, and falsely claiming to manufacture 3M products. In many cases, these scammers will try and secure
funds in advance and then disappear once the money is received.

3M will not tolerate any such activity by 3M authorized channel partners and we will aggressively pursue
third-parties that seek to take advantage of this crisis. We are working with law enforcement authorities
around the world – including, in the U.S., the U.S. Attorney General, state Attorneys General, and local
authorities.

We have also created a new 3M COVID-19 Fraud hotline for the U.S. and Canada that end-users and
purchasers of 3M products can call for information to help detect fraud and avoid counterfeit products.
You can reach this hotline by calling: 1 (800) 426-8688.

In addition to the hotline, you can report a concern in the US at www.go.3m.com/covidfraud. You can report
a concern in Canada at www.go.3M.com/covidfraud-en-ca (English) or
www.go.3M.com/covidfraud-fr-ca (French)

3M recommends purchasing our products only from a 3M authorized distributor or dealer, as that offers the
greatest assurance that you will receive authentic 3M products.


With regard to 3M respirators specifically, we are                             Model #         List Price (USD)
providing the following additional information to
help stop price gouging and sales of counterfeit                                 1804               $0.68
products:                                                                        1804S              $0.68
                                                               Surgical N95
                                                                                 1860               $1.27
•   3M has not changed the prices we charge                    Respirators
                                                                                 1860S              $1.27
    for 3M respirators as a result of the
    COVID-19 outbreak.                                                           1870+              $1.78
                                                                                 8210            $1.02 - $1.31
•   We are actively working to eliminate price
                                                                               8210Plus          $1.18 - $1.50
    gouging, including making referrals to law
    enforcement where appropriate.                                               8210V          $1.48 - $1.88
                                                                                 8110S          $1.08 - $1.37
•   To help customers identify and avoid inflated
                                                               Standard N95      8200           $0.63 - $0.80
    prices, we are now publishing current single-case
    list prices for many of the most common 3M N95             Respirators        8511          $2.45 - $3.11
    respirator models sold in the U.S.                                           9105           $0.64 - $0.81
                                                                                 9105S          $0.64 - $0.81
•   List prices for these models sold in Canada are
    similar on a currency-adjusted basis.                                        9210+          $1.40 - $1.78
                                                                                 9211+          $2.68 - $3.40
•   These list prices are per respirator.
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•   Actual prices may be lower than these list prices, as negotiated between you and your chosen reseller.

•   3M has also worked to further accelerate delivery of respirators to critical end-users – both by utilizing
    our existing network of healthcare distributors and, where it makes sense to do so, shipping directly to
    end-user locations. Effective the week of March 23, the small volume of 3M filtering facepiece respirators
    being made available to critical industrial infrastructure is shipping directly to the specified end-user.

•   3M respirators should be sold only in 3M packaging, with model-specific user instructions accompanying
    the product.

•   3M respirators should not be sold individually or without packaging (including User Instructions).

•   3M has strict quality standards, and therefore products that have missing straps, strange odors, blocked
    valves, misspelled words, etc. are likely not authentic 3M respirators.


Finally, 3M personal protective equipment (PPE) is intended, labeled, packaged, and certified to meet the
requirements of the countries in which 3M sells it. Those requirements differ around the world, including as
it relates to, for example, respirator performance, local language, and local certification and approval for sale
and use. As a result, 3M PPE imported from other countries may not meet local requirements. Please confirm
such PPE meets all applicable requirements prior to use.

For technical assistance regarding the selection and use of 3M respirators, please contact your local
3M Technical Service team. In the U.S., you can call 1 (800) 243-4630. In Canada, you can
call 1 (800) 364-3577.




For more information, contact the 3M Help Center at 1 (888) 364-3577 in the United States.
In Canada, please contact 3M Canada Customer Service at 1 (800) 364-3577.




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3M Center
                                   3M is a trademark of 3M Company and affiliates.
St. Paul, MN
                                   Used under license in Canada.
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                         Exhibit 4




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         Int. Cls.: 9 and 10
         Prior U.S. Cls.: 21, 23, 26, 36, 38, 39 and 44
                                                                              Reg. No. 3,398,329
         United States Patent and Trademark Office                             Registered Mar. 18, 2008


                                           TRADEMARK
                                       PRINCIPAL REGISTER




                                               3M
         3M COMPANY (DELAWARE CORPORATION)            ANTIBIOTICS, AND OTHER ORGANISMS AND
         3M CENTER, 220-9E-01                         SUBSTANCES; DIAGNOSTIC APPARATUS FOR
         2501 HUDSON ROAD                             TESTING FOOD; LABORATORY EQUIPMENT
                                                      AND SUPPLIES, NAMELY, TEST TUBES, TEST
         ST. PAUL, MN 55144                           TUBE CAPS, DIP STICKS, RACKS, MICROTITRE
                                                      PLATES AND TRAYS; SECURITY SCANNERS AND
           FOR: FULL LINE OF PARTICULATE, OZONE,      READERS FOR USE IN READING PASSPORTS
         GAS, VAPOR, CHEMICAL, BIOHAZARD AND          AND OTHER FORMS OF IDENTIFICATION;
         OTHER RESPIRATORS, INCLUDING FILTERING       ANTI-THEFT AND LIBRARY MATERIAL CHECK-
         FACE-PIECE RESPIRATORS AND ELASTOMERIC       OUT SECURITY SYSTEMS; RADIO FREQUENCY
         FACE-PIECE RESPIRATORS, OTHER THAN FOR       IDENTIFICATION (RFID) TAGS AND READERS;
         ARTIFICIAL RESPIRATION; FULL LINE OF SELF-   COMPUTER SOFTWARE FOR SUPPLY CHAIN
         RESCUE AND PROTECTION APPARATUS, NAME-       MANAGEMENT FROM SOURCE TO CONSUMP-
         LY, OXYGEN BREATHING UNITS, SUPPLIED-AIR     TION, NAMELY, FOR COLLECTING, STORING
         RESPIRATORS, AND POWERED AIR-PURIFYING       AND MANAGING DATA, AND REPORTING, EX-
         SYSTEMS (PAPRS) RESPIRATORS; CARTRIDGES,     ECUTING AND TRACKING, IN CONNECTION
         FILTERS, AIR TANKS AND OTHER COMPONENT       WITH ENTERPRISE RESOURCE PLANNING, SUP-
         PARTS FOR RESPIRATORS AND BREATHING          PLIER ENABLEMENT, MANUFACTURING, IN-
         UNITS; DUST MASKS; FULL LINE OF PROTEC-      VENTORY CONTROL AND WAREHOUSING,
         TIVE EYEWEAR, NAMELY, SAFETY GOGGLES,        ORDER FULFILLMENT, SHIPPING, TRANSPOR-
         EYEGLASSES AND EYE SHIELDS; FACE-PROTEC-     TATION AND DELIVERY; COMPUTER SOFT-
         TION SHIELDS; EAR PLUGS AND EAR MUFFS TO     WARE FOR USE IN THE MEDICAL AND HEALTH
         ATTENUATE SOUND AND PROTECT HEARING;         CARE FIELDS FOR PROCESSING CLAIMS FOR
         HARD HATS AND OTHER PROTECTIVE HEL-          REIMBURSEMENT, MAINTAINING PATIENT
         METS; WELDING HELMETS; AIR MONITORING        AND MEDICAL RECORDS, CODING AND GROUP-
         DEVICES AND SENSORS FOR MEASURING GASES      ING DATA USED FOR MEDICAL AND HEALTH
         AND VAPOR CONCENTRATION LEVELS; GAS          CARE RESEARCH, AND FOR REPORTING
         DETECTORS FOR DETECTING THE PRESENCE         HEALTH TRENDS AND OTHER MEDICAL DATA;
         OF CARBON MONOXIDE AND OTHER GASES;          AND MEDICAL IMAGING SCANNERS AND RE-
         THERMAL-IMAGING CAMERAS FOR USE BY           LATED SOFTWARE FOR CAPTURING IMAGES OF
         FIREFIGHTERS AND FOR SEARCH AND RESCUE;      THE MOUTH AND TEETH FOR USE IN DENTIS-
         ENVIRONMENTAL SAMPLING AND TESTING IN-       TRY, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).
         STRUMENTS AND EQUIPMENT, NAMELY, ELEC-
         TRONIC LUMINOMETERS, AND RELATED
         SOFTWARE, DOCKING STATIONS AND BATTER-         FIRST USE 0-0-1960; IN COMMERCE 0-0-1960.
         IES, FOR DETECTING, MEASURING AND ANA-
         LYZING CHEMICALS, BIOLOGICAL                   FOR: FULL LINE OF SURGICAL AND MEDICAL
         SUBSTANCES, FOOD RESIDUES AND MICROBES;      MASKS, RESPIRATORS AND FACE AND EYE
         MICROBIOLOGICAL AND CONTAMINANT-TEST-        SHIELDS FOR MEDICAL AND HEALTH-CARE
         ING INSTRUMENTS AND EQUIPMENT, AND           RELATED PERSONNEL; FULL LINE OF ORTHO-
         SOFTWARE RELATED THERETO, FOR DETECT-        PEDIC CASTINGS TAPES, SPLINTS, REINFORCING
         ING, MEASURING AND ANALYZING BACTERIA,       STRIPS, ELASTIC BANDAGES, AND SUPPORT
         INCLUDING PATHOGENS SUCH SALMONELLA          BANDAGES AND COMPRESSION WRAPS; COM-
         AND LISTERIA, ALLERGENS, TOXINS, VITAMINS,   POSITE FABRICS CONTAINING FIBERGLASS




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         AND RESINS FOR USE IN MAKING CASTS; PAD-    ORTHODONTIC APPLIANCES; DENTAL APPARA-
         DING FOR ORTHOPEDIC CASTS; ORTHOPEDIC       TUS, NAMELY, INTRA-ORAL LIGHT SYSTEMS
         CASTING TOOLS; FULL LINE OF STETHOSCOPES;   FOR CURING DENTAL MATERIALS, CERAMIC
         FULL LINE OF SURGICAL MASKS, FACE           USED IN MAKING DENTAL CROWNS, BRIDGES
         SHIELDS, AND RESPIRATORY MASKS FOR MED-     AND OTHER RESTORATIVES; DENTAL INSTRU-
         ICAL PURPOSES; FULL LINE OF SURGICAL AND    MENTS AND KITS COMPRISED OF SUCH INSTRU-
         MEDICAL PROCEDURE DRAPES AND SHEETS;        MENTS, NAMELY, MANDRELS, BURS, DISCS,
         PATIENT ISOLATION DRAPES; MEDICAL-EQUIP-    CUPS, WHEELS, POINTS, BRUSHES AND ABRA-
         MENT ISOLATION DRAPES; NON-ADHERENT         SIVE STRIPS USED TO GRIND, POLISH OR FINISH
         SHEETING FOR BEDS, STRETCHERS AND EXAM      DENTAL RESTORATIVES; DENTAL INSTRU-
         TABLES; SURGICAL GOWNS; COMPRESSION         MENTS, NAMELY, SCISSORS, CRIMPING PLIERS,
         BANDAGES; SURGICAL COMPRESSES; MEDICAL      CONTOURING PLIERS AND IMPRESSION TRAYS;
         THERMOMETERS; FULL LINE OF MEDICAL          ELECTRONIC MIXERS FOR DENTAL COM-
         ELECTRODES WITH OR WITHOUT CHEMICAL         POUNDS; APPLICATORS AND DISPENSERS FOR
         CONDUCTORS AND WET GELS FOR USE IN          DENTAL PRIMERS, CEMENTS, ADHESIVES, IM-
         CARDIAC, ELECTROCARDIOGRAPH, ELECTRO-       PRESSION MATERIALS AND RESTORATIVE MA-
         ENCEPHALOGRAPH AND OTHER TYPES OF PA-       TERIALS; GLASS-FIBER POSTS USED IN DENTAL
         TIENT MONITORING; LEADS AND CONNECTORS      RESTORATIVE PROCEDURES; AND DENT AL
         FOR USE WITH MEDICAL ELECTRODES; DEFI-      PROPHYLAXIS ANGLES AND DENTAL PROPHY-
         BRILLATION PADS; ELECTROSURGICAL PADS,      LAXIS CUPS FOR USE IN CLEANING TEETH AND
         PLATES AND ADAPTERS TO REMOVE RF CUR-       DENTAL HYGIENE PROCEDURES, IN CLASS 10
         RENT FROM A PATIENT'S BODY DURING ELEC-     (U.S. CLS. 26, 39 AND 44).
         TROSURGERY; THERMAL COLD AND HOT
         PACKS FOR FIRST AID AND THERAPEUTIC PUR-      FIRST USE 0-0-1960; IN COMMERCE 0-0-1960.
         POSES; EYE PATCHES FOR MEDICAL USE; PAD-
         DING FOR USE BETWEEN MEDICAL EQUIPMENT        THE MARK CONSISTS OF STANDARD CHAR-
         AND PATIENTS OR FOR ELEVATING OR POSI-      ACTERS WITHOUT CLAIM TO ANY PARTICULAR
         TIONING LIMBS; POUCHES FOR HOLDING SUR-     FONT, STYLE, SIZE, OR COLOR.
         GICAL AND MEDICAL INSTRUMENTS;
         ISOLATION POUCHES AND BAGS FOR STORING       OWNER OF U.S. REG. NOS. 1,237,168, 2,793,534
         ORGANS, TISSUE AND OTHER BODY PARTS FOR     AND OTHERS.
         TRANSPLANTS AND LABORATORY TESTING;
         FULL LINE OF STERILIZED AND NON-STERI-        SER. NO. 77-257,496, FILED 8-16-2007.
         LIZED FASTENING AND COMPRESSION SURGI-
         CAL WRAPS; AUTOCLAVES FOR MEDICAL USE;      TARAH HARDY, EXAMINING ATTORNEY




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       Int. Cls.: 1, 3, 5, 9, 10 and 28
       Prior U.S. Cls.: 1, 4, 5, 6, 10, 18, 21, 22, 23, 26, 36, 38,
       39, 44, 46, 50, 51 and 52
                                                                            Reg. No. 2,692,036
       United States Patent and Trademark Office                              Registered Mar. 4, 2003


                                          TRADEMARK
                                      PRINCIPAL REGISTER




      3M COMPANY (DELAWARE CORPORATION)            SUPPLIES , IN CLASS I (U.S. CLS. I, 5, 6, 10, 26
      2501 HUDSON ROAD                             AND 46).
      3M CENTER
                                                     FIRST USE 11-0-1990; IN COMMERCE 11-0-1990.
      ST. PAUL, MN 55144, BY MERGER, BY CHANGE
         OF NAME MINNESOTA MINING AND MANU-          FOR: NON-MEDICATED SKIN CARE PRO-
         FACTURING COMPANY (DELAWARE COR-          DUCTS, NAMELY, CLEANSERS, CREAMS, LO-
         PORATION) ST. PAUL, MN 55144              TIONS, MOISTURIZERS, BARRIER CREAMS AND
                                                   EMOLLIENTS, IN CLASS 3 (U.S. CLS. I, 4, 6, 50, 51
         FOR: ETHYLENE OXlDE FOR USE IN THE        AND 52).
       STERILIZATION OF MEDICAL, LABORATORY
       AND FOOD HANDLING INSTRUMENTS AND             FIRST USE 1-0-1996; IN COMMERCE 1-0-1996.
       EQUIPMENT; CHEMICAL AND STEAM INDICA-
      TOR STRIPS AND TAPE FOR USE WITH AUTO-         FOR: FULL LINE OF BANDAGES, DRESSINGS
      CLAVES AND FOR TESTING THE STERILITY OF     AND MEDICAL TAPES, NAMELY, ADHESIVE
       MEDICAL INSTRUMENTS AND EQUIPMENT; IN-     BANDAGES, BANDAGES FOR SKIN WOUNDS,
       DICATOR STRIPS FOR TESTING GLUTARALDE-     SURGICAL BANDAGES, WOUND DRESSINGS,
       HYDE, ETHYLENE OXIDE AND OTHER             NON-STICK PADS FOR USE AS MEDICAL DRES-
      CHEMICAL SOLUTIONS AND GASES; INDICATOR     SINGS, MEDICATED COMPRESSES, TRANSPAR-
      STRIPS FOR TESTING FOR BIOLOGICAL CONDI-    ENT MEDICAL DRESSINGS, HYDROCOLLOID
      TIONS FOR USE IN SAFETY-MONITORING; INDI-   DRESSINGS, COLOSTOMY DRESSINGS, ULCER
      CATOR STRIPS FOR INDICATING                 DRESSINGS, MEDICAL ADHESIVE TAPES, SURGI-
      TEMPERATURES FOR USE IN THE STERILIZA-      CAL TAPES, AND WOUND AND SKIN CLOSURE
      TION AND SAFETY-MONITORING; ASSAY AND       ADHESIVE STRIPS WITH OR WITHOUT ANTIMI-
      REAGENT TEST KITS AND COUNT PLATES FOR      CROBIAL SOLUTIONS; GAUZE; WOUND HEAL-
      FIELD AND LA BORATORY TESTING FORE COLI,    ING FILLERS WITH OR WITHOUT GAUZE;
      COLIFORM, AND OTHER BACTERIA OR CON-        MEDICATED SKIN CARE PREPARATIONS; SUR-
      TAMINANTS IN MEAT, DAIRY PRODUCTS AND       GICAL DISINFECTANTS AND PREPPING SOLU-
      OTHER TYPES OF FOOD, AND FOR TESTING TO     TIONS; MEDICATED ANTISEPTIC HAND WASHES;
      DETECT YEAST AND MOLD; AND STERILIZA-       AND CULTURE MEDIA, BACTERIOLOGICAL
      TION MONITOR TESTING KITS CONTAINING        MEDIA AND DIAGNOSTIC PREPARATIONS FOR
      INDICATOR STRIPS OR TAPE, REAGENTS AND      CLINICAL OR MEDICAL LABORATORY USE, IN
      RECORD KEEPING CARDS OR BINDERS FOR         CLASS 5 (U.S. CLS. 6, 18, 44, 46, 51 AND 52).
      TESTING THE STERILITY OF SURGICAL AND
      MEDICAL INSTRUMENTS, EQUIPMENT, AND           FIRST USE 2-0-1991; IN COMMERCE 2-0-1991.




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         FOR: COMPUTER SOFfWARE FOR USE IN THE              TIENT MONITORING; LEADS AND CONNECTORS
       MEDICAL AND HEALTH CARE FIELDS FOR PRO-              FOR USE WITH MEDICAL ELECTRODES; DEFI-
       CESSING CLAIMS FOR REIMBURSEMENT, MAIN-              BRILLATION PADS; ELECTROSURGICAL PADS,
       TAINING PATIENT RECORDS, CODING AND                  PLATES AND ADAPTERS TO REMOVE RF CUR-
       GROUPING DATA USED FOR MEDICAL AND                   RENT FROM A PATIENTS BODY DURING ELEC-
       HEALTH CARE RESEARCH, AND FOR REPORT-                TROSURGERY; THERMAL COLD AND HOT
       ING HEALTH TRENDS AND OTHER MEDICAL                  PACKS FOR FIRST AID AND THERAPEUTIC PUR-
       DATA; AND FULL LINE OF RESPIRATORY FACE              POSES; EYE PATCHES FOR MEDICAL USE; PAD-
       MASKS FOR FILTERING OUT GERMS, DUST AND              DING FOR USE BETWEEN MEDICAL EQUIPMENT
       POLLEN, IN CLASS9 (U.S. CLS. 21,23, 26, 36AND 38).   AND PATIENTS OR FOR ELEVATING OR POSI-
                                                            TIONING LIMBS; POUCHES FOR HOLDING SUR-
         FIRST USE 5-0-1992; IN COMMERCE 5-0-1992.          GICAL AND MEDICAL INSTRUMENTS;
                                                            ISOLATION POUCHES AND BAGS FOR STORING
         FOR: FULL LINE OF ORTHOPEDIC CASTINGS              ORGANS, TISSUE AND OTHER BODY PARTS FOR
      TAPES, SPLINTS, REINFORCING STRIPS, ELASTIC           TRANSPLANTS AND LABORATORY TESTING;
       BANDAGES, AND SUPPORT BANDAGES AND                   AND FULL LINE OF STERILIZED AND NON-
      COMPRESSION WRAPS; COMPOSITE FABRICS                  STERILIZED FASTENING AND COMPRESSION
      CONTAINING FIBERGLASS AND RESINS FOR                  SURGICAL WRAPS, IN CLASS IO (U.S. CLS. 26, 39
      USE IN MAKING CASTS; PADDING FOR ORTHO-               AND 44).
      PEDIC CASTS; ORTHOPEDIC CASTING TOOLS;
      FULL LINE OF STETHOSCOPES; FULL LINE OF                 FIRST USE. 6-0-1990; IN COMMERCE 6-0-1990.
      SURGICAL MASKS, FACE SHIELDS, AND RE-
      SPIRATORY MASKS FOR MEDICAL PURPOSES;                   FOR: ATHLETIC TAPE AND ATHLETIC SUP-
      FULL LINES OF SURGICAL AND MEDICAL PRO-               PORT AND COMPRESSION WRAPS FOR KNEES,
      CEDURE DRAPES AND SHEETS; PATIENT ISOLA-              WRISTS, ANKLES, ELBOWS, LEGS AND ARMS, IN
      TION DRAPES; MEDICAL-EQUIPMENT                        CLASS 28 (U.S. CLS. 22, 23, 38 AND 50).
      ISOLATION DRAPES; NON-ADHERENT SHEET-
      ING FOR BEDS, STRETCHERS AND EXAM TA-                   FIRST USE 0-0-1993; IN COMMERCE 0-0-1993.
      BLES; SURGICAL GOWNS; COMPRESSION
      BANDAGES; SURGICAL COMPRESSES; MEDICAL                 OWNER OF U.S. REG. NOS. 1,181,981, 1,213,836,
      THERMOMETERS; FULL LINE OF MEDICAL                    AND 1,234,260.
      ELECTRODES WITH OR WITHOUT CHEMICAL
      CONDUCTORS AND WET GELS FOR USE IN                      SER. NO. 76-137,885, FILED 9-29-2000.
      CARDIAC, ELECTROCARDIOGRAPH, ELECTRO-
      ENCEPHALOGRAPH AND OTHER TYPES OF PA-                 ALICIA COLLINS, EXAMINING ATTORNEY




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         Int. Cls.: 1, 3, 5, 9, 10 and 28
         Prior U.S. Cls.: 1, 4, 5, 6, 10, 18, 21, 22, 23, 26, 36, 38,
         39, 44, 46, 50, 51 and 52
                                                                                         Reg. No. 2,793,534
         United States Patent and Trademark Office                                        Registered Dec. 16, 2003


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         3M COMPANY (DELAWARE CORPORATION)                       SUPPLIES , IN CLASS 1 (U.S. CLS. 1, 5, 6, 10, 26
         2501 HUDSON ROAD                                        AND 46).
         3M CENTER                                                  FIRST USE 11-0-1990; IN COMMERCE 11-0-1990.
         ST. PAUL, MN 55144 , BY MERGER, BY CHANGE
            OF NAME MINNESOTA MINING AND MANU-                     FOR: NON-MEDICATED SKIN CARE PRO-
            FACTURING COMPANY (DELAWARE COR-                     DUCTS, NAMELY, CLEANSERS, CREAMS, LO-
            PORATION) ST. PAUL, MN 55144                         TIONS, MOISTURIZERS, BARRIER CREAMS AND
                                                                 EMOLLIENTS, IN CLASS 3 (U.S. CLS. 1, 4, 6, 50, 51
           FOR: ETHYLENE OXIDE FOR USE IN THE                    AND 52).
         STERILIZATION OF MEDICAL, LABORATORY
         AND FOOD HANDLING INSTRUMENTS AND                          FIRST USE 1-0-1996; IN COMMERCE 1-0-1996.
         EQUIPMENT; CHEMICAL AND STEAM INDICA-
         TOR STRIPS AND TAPE FOR USE WITH AUTO-                    FOR: FULL LINE OF BANDAGES, DRESSINGS
         CLAVES AND FOR TESTING THE STERILITY OF                 AND MEDICAL TAPES, NAMELY, ADHESIVE
         MEDICAL INSTRUMENTS AND EQUIPMENT; IN-                  BANDAGES, BANDAGES FOR SKIN WOUNDS,
         DICATOR STRIPS FOR TESTING GLUTARALDE-                  SURGICAL BANDAGES, WOUND DRESSINGS,
         HYDE, ETHYLENE OXIDE AND OTHER                          NON-STICK PADS FOR USE AS MEDICAL DRES-
         CHEMICAL SOLUTIONS AND GASES; INDICATOR                 SINGS, MEDICATED COMPRESSES, TRANSPAR-
         STRIPS FOR TESTING FOR BIOLOGICAL CONDI-                ENT MEDICAL DRESSINGS, HYDROCOLLOID
         TIONS FOR USE IN SAFETY-MONITORING; INDI-               DRESSINGS, COLOSTOMY DRESSINGS, ULCER
         CATOR STRIPS FOR INDICATING                             DRESSINGS, MEDICAL ADHESIVE TAPES, SURGI-
         TEMPERATURES FOR USE IN THE STERILIZA-                  CAL TAPES, AND WOUND AND SKIN CLOSURE
         TION AND SAFETY-MONITORING; ASSAY AND                   ADHESIVE STRIPS WITH OR WITHOUT ANTIMI-
         REAGENT TEST KITS AND COUNT PLATES FOR                  CROBIAL SOLUTIONS; GAUZE; WOUND HEAL-
         FIELD AND LABORATORY TESTING FORE COLI,                 ING FILLERS WITH OR WITHOUT GAUZE;
         COLIFORM, AND OTHER BACTERIA OR CON-                    MEDICATED SKIN CARE PREPARATIONS; SUR-
         TAMINANTS IN MEAT, DAIRY PRODUCTS AND                   GICAL DISINFECTANTS AND PREPPING SOLU-
         OTHER TYPES OF FOOD, AND FOR TESTING TO                 TIONS; MEDICATED ANTISEPTIC HAND WASHES;
         DETECT YEAST AND MOLD; AND STERILIZA-                   AND CULTURE MEDIA, BACTERIOLOGICAL
         TION MONITOR TESTING KITS CONTAINING                    MEDIA AND DIAGNOSTIC PREPARATIONS FOR
         INDICATOR STRIPS OR TAPE, REAGENTS AND                  CLINICAL OR MEDICAL LABORATORY USE, IN
         RECORD KEEPING CARDS OR BINDERS FOR                     CLASS 5 (U.S. CLS. 6, 18, 44, 46, 51 AND 52).
         TESTING THE STERILITY OF SURGICAL AND
         MEDICAL INSTRUMENTS, EQUIPMENT, AND                        FIRST USE 2-0-1991; IN COMMERCE 2-0-1991.




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           FOR: COMPUTER SOFTWARE FOR USE IN THE                 PLATES AND ADAPTERS TO REMOVE RF CUR-
         MEDICAL AND HEALTH CARE FIELDS FOR PRO-                 RENT FROM A PATIENT'S BODY DURING ELEC-
         CESSING CLAIMS FOR REIMBURSEMENT, MAIN-                 TROSURGERY; THERMAL COLD AND HOT
         TAINING PATIENT RECORDS, CODING AND                     PACKS FOR FIRST AID AND THERAPEUTIC PUR-
         GROUPING DATA USED FOR MEDICAL AND                      POSES; EYE PATCHES FOR MEDICAL USE; PAD-
         HEALTH CARE RESEARCH, AND FOR REPORT-                   DING FOR USE BETWEEN MEDICAL EQUIPMENT
         ING HEALTH TRENDS AND OTHER MEDICAL                     AND PATIENTS OR FOR ELEVATING OR POSI-
         DATA; AND FULL LINE OF RESPIRATORY FACE                 TIONING LIMBS; POUCHES FOR HOLDING SUR-
         MASKS FOR FILTERING OUT GERMS, DUST AND                 GICAL AND MEDICAL INSTRUMENTS;
         POLLEN, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).   ISOLATION POUCHES AND BAGS FOR STORING
                                                                 ORGANS, TISSUE AND OTHER BODY PARTS FOR
           FIRST USE 5-0-1992; IN COMMERCE 5-0-1992.             TRANSPLANTS AND LABORATORY TESTING;
                                                                 AND FULL LINE OF STERILIZED AND NON-
           FOR: FULL LINE OF ORTHOPEDIC CASTINGS                 STERILIZED FASTENING AND COMPRESSION
         TAPES, SPLINTS, REINFORCING STRIPS, ELASTIC             SURGICAL WRAPS, IN CLASS 10 (U.S. CLS. 26, 39
         BANDAGES, AND SUPPORT BANDAGES AND                      AND 44).
         COMPRESSION WRAPS; COMPOSITE FABRICS
         CONTAINING FIBERGLASS AND RESINS FOR                      FIRST USE 6-0-1990; IN COMMERCE 6-0-1990.
         USE IN MAKING CASTS; PADDING FOR ORTHO-
         PEDIC CASTS; ORTHOPEDIC CASTING TOOLS;                    FOR: ATHLETIC TAPE AND ATHLETIC SUP-
         FULL LINE OF STETHOSCOPES; FULL LINE OF                 PORT AND COMPRESSION WRAPS FOR KNEES,
         SURGICAL MASKS, FACE SHIELDS, AND RE-                   WRISTS, ANKLES, ELBOWS, LEGS AND ARMS, IN
         SPIRATORY MASKS FOR MEDICAL PURPOSES;                   CLASS 28 (U.S. CLS. 22, 23, 38 AND 50).
         FULL LINE OF SURGICAL AND MEDICAL PRO-
         CEDURE DRAPES AND SHEETS; PATIENT ISOLA-                  FIRST USE 0-0-1993; IN COMMERCE 0-0-1993.
         TION DRAPES; MEDICAL-EQUIPMENT
         ISOLATION DRAPES; NON-ADHERENT SHEET-                    OWNER OF U.S. REG. NOS. 1,181,981, 1,234,260
         ING FOR BEDS, STRETCHERS AND EXAM TA-                   AND OTHERS.
         BLES; SURGICAL GOWNS; COMPRESSION
         BANDAGES; SURGICAL COMPRESSES; MEDICAL                    THE MATTER SHOWN IN BROKEN LINES IN-
         THERMOMETERS; FULL LINE OF MEDICAL                      DICATES THE RELATIVE PLACEMENT OF THE
         ELECTRODES WITH OR WITHOUT CHEMICAL                     MARK ON A TYPICAL PACKAGE FOR THE
         CONDUCTORS AND WET GELS FOR USE IN                      GOODS AND IS NOT CLAIMED AS A FEATURE
         CARDIAC, ELECTROCARDIOGRAPH, ELECTRO-                   OF THE MARK.
         ENCEPHALOGRAPH AND OTHER TYPES OF PA-
         TIENT MONITORING; LEADS AND CONNECTORS                    SER. NO. 76-138,263, FILED 9-29-2000.
         FOR USE WITH MEDICAL ELECTRODES; DEFI-
         BRILLATION PADS; ELECTROSURGICAL PADS,                  ALICIA COLLINS, EXAMINING ATTORNEY




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                         Exhibit 5




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  3NI            Science.
                 Applied to Life.'"




3M COVID-19 Anti-Fraud, Anti-Price Gouging, and Anti-Counterfeiting Reporting




Have a concern to report relat ed to Fraud, Price Gouging or Counterfeit product ? Fill out form
below
At 3M, we are committed to doing all we can to help combat the fraudulent, price gouging, and counterfeit activity that is unfortunately
occurring in connection with COVI D-19. 3M will not tolerate any such activity by 3M authorized channel partners and we will aggressively
pursue third-parties that seek to take advantage of this crisis. We are working with law enforcement authorities around the world - including, in
the U.S., the U.S. Attorney General, State Attorneys General, and local authorities.




COVID-19 Fraud

Please complete as much of the information requested below as possible. Fields marked with on asterisk ore required. Once you submit this
report, you will receive on email notification that 3M hos received the report. We request that you reply to that email and attach any copies of
invoices, contracts, pictures of product and any other relevant documentation that con help us to investigate the situation.



Requestor Information

First Name•



Last Name•



Request or Type•

 Select One
                                                                                                                     II
Company Name (if applicable)



Email/Business Email Address•



Phone/Business Phone Number*



Country/Region•

 United States
                                                                                                                     II
Tell Us About the Fraud You Would Like to Report
W here is the fraud ulent o ffer or conduct occurring?•


                                                                                          - 54 -                     -
 Select One
        Case 2:20-cv-05049-MWF-JC Document 14 Filed 06/09/20 Page 55 of 56 Page ID #:146
Please provide specific web page or URL link to the fraudu lent offer




Alleged Solicitor/ Seller Information
Please provide as much information as possible.


Seller First Name



Seller Last Name



Seller Company



Seller Email



Seller Phone



Seller Country/Region

 Select One
                                                                                 II
Seller's Website




Fraud Product Details

Product1*

  Select One
                                                                                 II
Product 1 Price



Product 1 3M SKU



Product 1 Quantity



Product 2

  Select One
                                                                                 II
Product 2 Price



Product 2 3M SKU



Product 2 Quantity



Product 3

  Select One
                                                                                 II
Product 3 Price




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         Case 2:20-cv-05049-MWF-JC Document 14 Filed 06/09/20 Page 56 of 56 Page ID #:147
Product 3 3M SKU



Product 3 Quantity



Product Fraud Details*

Provide as much detail about the interaction as possible including how you first contacted the seller and what information did the seller provide
you regarding the product




Please be aware that the information you supply about yourself, or any aspect of 3M' s operations may result in actions or decisions that may
affect others. We ask you to provide only information that, to the best of your knowledge, is correct. You will not be sanctioned for submitting
information in good faith, even if it turns out to be inaccurate. However, if you knowingly provide false or misleading information, it may result in
disciplinary or judicial action.

3M respects your right to p rivacy. 3M will collect, use, and disclose the personal information you provide in accordance with our Privacy Polic
In addition to the third party disclosures described in our Privacy Policy, 3M may share all personal information you provided in this form with
third parties including but not limited to law enforcement agencies, governmental authorities, regulators or courts: (i) to comply w ith a law,
regulation, court order, or other legal process; (ii) to meet our legitimate interest in detecting, preventing, investigating and responding to fraud
intellectual property infringement, violation of our contracts or agreements, violation of law, or other misuse of 3M products or services; (iii) to
protect 3M rights or property or yours or others' health, safety, welfare, rights, or property; or (iv) under similar circumstances to address fraud
and counterfeit activity related to the Covid 19 situation. If 3M elects to share personal information with law enforcement agencies,
governmental authorities, regulators or courts, 3M will have no control over that personal information.


      SUBMIT




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